     Case 2:15-cv-01045-RFB-BNW Document 817 Filed 07/08/21 Page 1 of 2



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 3
 4                                 UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                     ***
 7     KAJAN JOHNSON and CLARENCE                                          TRANSFER ORDER
       DOLLAWAY, on behalf of themselves and
 8     all others similarly situated,                                 Case No. 2:21-cv-01189-APG-VCF
 9                         Plaintiffs,
10           v.
11     ZUFFA, LLC (d/b/a Ultimate Fighting
       Championship and UFC) and Endeavor Group
12     Holdings, Inc.,
13                   Defendants.
       _____________________________________
14
       CUNG LE, NATHAN QUARRY, JON
15     FITCH, et al,                                              Case No. 2:15-cv-01045-RFB-BNW
16                        Plaintiffs,
17            v.
18     ZUFFA, LLC, d/b/a ULTIMATE
       FIGHTINGCHAMPIONSHIP and UFC
19
                          Defendant.
20
21            On June 23, 2021, Plaintiffs filed a complaint. ECF No. 1. A complaint, alleging similar

22    claims, was filed on December 16, 2014, in case 2:15-cv-01045-RFB-BNW. ECF No. 1. The

23    presiding District Judges in all actions have individually and collectively determined that these

24    actions are related as they involve allegations under Section 2 of the Sherman Act, 15 U.S.C. §

25    2 regarding anticompetitive conduct. The presiding District Judges further find that there is good

26    cause to transfer this case under the same District Judge and Magistrate Judge pursuant to Local

27    Rule 42-1(a) and that this transfer will promote judicial efficiency, avoid duplicative filings by

28    the parties, and will not result in prejudice to the parties.
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             Therefore,
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             IT IS HEREBY ORDERED that case no. 2:21-cv-01189-APG-VCF is transferred to
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      District Judge Richard F. Boulware, II and Magistrate Judge Brenda N. Weksler.
 4
             IT IS FURTHER ORDERED that all documents shall be filed under case 2:21-cv-
 5
      01189-RFB-BNW and shall bear that case number.
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            DATED: July 8, 2021.
 7
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 9          ______________________________                     ____________________________
            ANDREW P. GODON                                    RICHARD F. BOULWARE, II
10
            United States District Judge                       United States District Judge
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